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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :       Case No:
                                              :
               v.                             :
                                              :       VIOLATIONS:
TROY WEEKS,                                   :
                                              :       18 U.S.C. § 111(a)(1)
                                              :       (Assaulting, Resisting, or Impeding
                         Defendant.           :        Certain Officers)
                                              :
                                              :       18 U.S.C. § 231(a)(3)
                                              :       (Obstruction of Law Enforcement
                                              :       during Civil Disorder)
                                              :
                                              :       18 U.S.C. § 1752(a)(1)
                                              :       (Entering and Remaining in a Restricted
                                              :       Building or Grounds)
                                              :
                                              :       18 U.S.C. § 1752(a)(2)
                                              :       (Disorderly and Disruptive Conduct in a
                                              :       in Restricted Building or Grounds)
                                              :
                                              :       18 U.S.C. § 1752(a)(4)
                                              :       (Engaging in Physical Violence in a
                                              :       Restricted Building or Grounds)
                                              :
                                              :       40 U.S.C. § 5104(e)(2)(E)
                                              :       (Impeding Passage through the Capitol
                                              :       Grounds or Buildings)


                                             ORDER

       This matter having come before the Court pursuant to the application of the United States

to seal criminal complaint, the Court finds that, because of such reasonable grounds to believe the

disclosure will result in flight from prosecution, destruction of or tampering with evidence,

intimidation of potential witnesses, and serious jeopardy to the investigation, the United States has

established that a compelling governmental interest exists to justify the requested sealing.
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        1.       IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that the

affidavit in support of criminal complaint and other related materials, the instant application to seal, and

this Order are sealed until the arrest warrant is executed.

        2.       IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

public docket of the arrest warrant until it is executed.


Date:                                              ___________________________________
                                                   G. MICHAEL HARVEY
                                                   UNITED STATES MAGISTRATE JUDGE
